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                                                      Main Document    Page 1 of 14


                     1    MORGAN, LEWIS & BOCKIUS LLP
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                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.                                STIPULATION TO CONTINUE
                                                                                      HEARINGS ON MOTION RE
                    16    Affects:                                                    AUTOMATIC STAY AND CHAPTER 11
                                                                                      STATUS CONFERENCE
                    17    ■   All Debtors
                          □   Scoobeez, ONLY                                          Date:           January 16, 2020
                    18    □   Scoobeez Global, Inc., ONLY                             Time:           10:00 A.m.
                          □   Scoobur LLC, ONLY                                       Place.:         United States Bankruptcy Court
                    19                                                                                Edward Roybal Federal Building
                                                                                                      255 E Temple St., Ctrm 1375
                    20                                                                                Los Angeles CA 90012

                    21             This Stipulation to Continue Hearings on Motion re Automatic Stay and Chapter 11 Status

                    22    Conference is entered into by and among Movant, Amazon Logistics, Inc. (“Amazon”),

                    23    Scoobeez, Inc., (“Scoobeez”), Hillair Capital Management, LLC, (“Hillair”) and the Official

                    24    Committee of Unsecured Creditors (collectively, the “Parties”) with reference to the following

                    25    facts:

                    26
                          1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27    Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                          Boulevard, in Glendale, California 91214.
                    28
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MORGAN, LEWIS &
 BOCKIUS LLP             DB2/ 38079408.1
 ATTORNEYS AT LAW
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                Case 2:19-bk-14989-WB             Doc 543 Filed 01/15/20 Entered 01/15/20 11:30:39               Desc
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                     1             A.      On October 25, 2019, Scoobeez filed a complaint against Amazon, which

                     2    commenced an adversary proceeding, Adv. No. 2:19-ap-01456-WB (the “Adversary

                     3    Proceeding”). Also on October 25, 2019, Scoobeez filed in the Adversary Proceeding its

                     4    Emergency Motion for Temporary Restraining Order and Preliminary Injunction to Prevent

                     5    Violation of the Automatic Stay (the “Preliminary Injunction Motion”). Amongst other relief, the

                     6    Preliminary Injunction Motion sought a temporary restraining order, and preliminary and

                     7    permanent injunction relating to Amazon’s alleged violations of the automatic stay.

                     8             B.      On October 28, 2019, Hillair filed a motion seeking permission to file a complaint

                     9    in intervention in the Adversary Proceeding (the “Intervention Motion”).
                    10             C.      The Preliminary Injunction Motion and the Intervention Motion are presently set

                    11    for hearing before the above-captioned court (the “Court”) on January 16, 2020 at 10:00 a.m.

                    12             D.      On October 28, 2019, Amazon filed a motion seeking an order that certain actions

                    13    that it proposed to take did not violate the automatic stay and for an order modifying the

                    14    automatic stay [Bankruptcy Case Docket No. 393] (the “Stay Relief Motion”). That motion also

                    15    is presently set for hearing before this Court on January 16, 2020 at 10:00 a.m.

                    16             E.      The interests of judicial economy and of the Parties would be furthered by hearing

                    17    the Preliminary Injunction Motion, the Stay Relief Motion and the Intervention Motion

                    18    (collectively, the “Pending Motions”) on the same date.

                    19             F.      On October 29, 2019, Hillair served certain discovery requests upon Amazon in
                    20    relation to the Stay Relief Motion. On November 18, 2019, Amazon served certain discovery

                    21    requests on Hillair and Scoobeez in relation to the Stay Relief Motion. On December 13, 2019,

                    22    Scoobeez served certain discovery requests on Amazon in relation to the Stay Relief Motion.

                    23    While the Parties are working cooperatively towards completing the production of the documents

                    24    requested by the Parties and scheduling the depositions noticed by the Parties, the Parties do not

                    25    believe that discovery can be completed and the results of that discovery presented to this Court

                    26    in connection with its consideration of the Stay Relief Motion on January 16, 2020. Accordingly,

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                     1    the Parties wish to continue the hearing on the Pending Motions to February 25, 2020 at 10:00

                     2    a.m.

                     3             G.      In order to provide the Court with the information obtained by the Parties as a

                     4    result of the pending discovery, the Parties also wish to file supplemental papers in support of, or

                     5    in opposition to, the Stay Relief Motion on or before February 18, 2020.

                     6             H.      The Court has scheduled a chapter 11 status conference in this case on January 16,

                     7    2020. The parties believe that it would also further the interests of judicial economy and the

                     8    parties to continue that matter to the same time and date as the Pending Motions.

                     9             IT IS THEREFORE STIPULATED THAT the Court may enter an order in the form
                    10    attached hereto as Exhibit 1 continuing the hearing date of the Stay Relief Motion and the chapter

                    11    11 status conference to February 25, 2020 at 10:00 a.m. and permitting the filing of supplemental

                    12    papers in support of, and in opposition to, the Stay Relief Motion on or before February 18, 2020.

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                     1    Dated: January __, 2020                   MORGAN, LEWIS & BOCKIUS LLP

                     2

                     3                                              By:    /s/ Richard W. Esterkin
                                                                               Richard W. Esterkin
                     4                                               Attorneys for Amazon Logistics, Inc.

                     5    Dated: January __, 2020                   FOLEY & LARDNER LLP

                     6

                     7                                              By:
                                                                              Ashley M. McDow
                     8                                               Attorneys for Scoobeez, Inc.

                     9    Dated: January __, 2020                   QUINN EMANUEL URGUHART &
                                                                    SULLIVAN, LLP
                    10

                    11
                                                                    By:
                    12                                                        Jennifer Nassiri
                                                                     Attorneys for Hillair Capital Management,
                    13                                               LLC

                    14    Dated: January __, 2020                   LEVENE, NEALE, BENDER, YOO & BRILL
                                                                    LLP
                    15

                    16
                                                                    By:
                    17                                                        David L. Neale
                                                                     Attorneys for the Official Committee of
                    18                                               Unsecured Creditors

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                     1    Dated: January __, 2020                   MORGAN, LEWIS & BOCKIUS LLP
                     2

                     3                                              By:    /s/ Richard W. Esterkin
                                                                               Richard W. Esterkin
                     4                                               Attorneys for Amazon Logistics, Inc.
                     5    Dated: January __, 2020                   FOLEY & LARDNER LLP
                     6

                     7                                              By:
                                                                             Ashley M. McDow
                     8                                               Attorneys for Scoobeez, Inc.
                     9    Dated: January __, 2020                   QUINN EMANUEL URGUHART &
                                                                    SULLIVAN, LLP
                    10

                    11
                                                                    By:
                    12                                                       Jennifer Nassiri
                                                                     Attorneys for Hillair Capital Management,
                    13                                               LLC
                    14    Dated: January 14, 2020                   LEVENE, NEALE, BENDER, YOO & BRILL
                                                                    L.L.P.
                                                                      L.P.
                    15

                    16
                                                                    By:
                                                                     y:
                    17                                                       David L.L Neale
                                                                     Attorneys for the Official Committee of
                    18                                               Unsecured Creditors
                    19

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                           EXHIBIT 1

                                                                 Exhibit 1 - page 5
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                     1    MORGAN, LEWIS & BOCKIUS LLP
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                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                 UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                            LOS ANGELES DIVISION
                    11

                    12    In re:                                                      Case No. 2:19-bk-14989-WB
                                                                                      Jointly Administered:
                    13             SCOOBEEZ, et al.1,                                 2:19-bk-14991-WB, and 2:19-bk-14997-WB

                    14                                                                Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.                                ORDER CONTINUING HEARINGS ON
                                                                                      MOTION RE AUTOMATIC STAY AND
                    16    Affects:                                                    CHAPTER 11 STATUS CONFERENCE
                          ■ All Debtors
                    17    □ Scoobeez, ONLY                                            Date:           December 11, 2019
                          □ Scoobeez Global, Inc., ONLY                               Time:           10:00 a.m.
                    18    □ Scoobur LLC, ONLY                                         Place.:         United States Bankruptcy Court
                                                                                                      Edward Roybal Federal Building
                    19                                                                                255 E Temple St., Ctrm 1375
                                                                                                      Los Angeles CA 90012
                    20

                    21             The parties having stipulated thereto [at Docket No. 543], and good cause appearing

                    22    therefore,

                    23             IT IS HEREBY ORDERED that:

                    24             1.      The hearing on Amazon Logistics, Inc.’s motion regarding the automatic stay

                    25    (Docket No. 393) (the “Stay Relief Motion”) and the chapter 11 status conference in this

                    26
                          1
                            The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                    27    Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463 Foothill
                          Boulevard, in Glendale, California 91214.
                    28
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MORGAN, LEWIS &
 BOCKIUS LLP             DB2/ 38079565.1
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   COSTA MESA
                                                                                                                  Exhibit 1 - page 6
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                     1    bankruptcy case be continued to February 25, 2020, at 10:00 a.m., in Courtroom 1375 of this

                     2    Court; and

                     3             2.      Each of Amazon Logistics, Inc., Scoobeez, Hillair Capital Management, LLC and

                     4    the Official Committee of Unsecured Creditors may file supplemental papers providing the Court

                     5    with the results of the discovery undertaken in connection with the Stay Relief Motion on or

                     6    before February 18, 2020.

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                                                                                                    Exhibit 1 - page 7
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                                                            CERTIFICATE OF SERVICE FORM
                       2                                        FOR ELECTRONIC FILINGS

                       3             I hereby certify that on January 15, 2020, I electronically    filed the foregoing document,

                       4    Stipulation     to Continue   Hearings   on Motion Re Automatic        Stay and Chapter   11 Status

                       5    Conference,      with the Clerk of the United States Bankruptcy   Court, Central District of California,

                       6    Los Angeles Division, using the CM/ECF         system, which will send notification of such filing to

                       7    those parties registered to receive notice on this matter.

                       8

                       9
                                                                               Renee Robles
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MORGAN,    LEWIS   &
  BOCKIUS LLP
                           DB2/38079408.1
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   COSTA MESA



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                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave FI 22, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Stipulation to Continue Hearings on Motion re:
Automatic Stay and Chapter 11 Status Conference


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
01115/2020         , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, Attached.



                                                                                        o     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/15/2020           , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed       no
                             later than 24 hours after the document is filed.
   Conway MacKenzie, Inc.           Daimler Trust                   Levene Neale Bender Yoo & Brill LLP
   333 SHope St Ste 3625            c/o BK Servicing LLC            10250 Constellation Blvd Ste 1700
   Los Angeles CA 90071             PO Box 131265                   Los Angeles CA 90067
                                    Roseville MN 55113-0011

                                                                                        D Service       information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 01/15/2020           , I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. Julia W. Brand, Suite 1382
U.S. Bankruptcy Court, Roybal Federal Building
255 E Temple St, Los Angeles CA 90012

                                                                                        D Service       information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

01/15/2020         Renee Robles                                                                       ~~
 Date                      Printed Name                                                           Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF .SERVICE




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2:19-bk-14989-WB Service List:

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and Scoobeez Global, Inc.

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David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

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Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
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Aram Ordubegian on behalf of Interested Party Courtesy NEF
ordubegian.aram@arentfox.com




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Gregory M Salvato on behalf of Creditor Azad Baban

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United States Trustee (LA)
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Kimberly Walsh on behalf of Creditor Texas Comptroller of Public
Accounts bk-kwalsh@texasattorneygeneral.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com

Eric K Yaeckel on behalf of Creditor Arturo Vega
yaeckel@sullivanlawgroupapc.com

2:19-bk-14989-WB Notice will not be electronically mailed to:


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Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067




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